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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

   U NITED S TATES OF A MERICA
                                            Criminal Action No.
         v.
                                            1:23-CR-047-MHC-JEM
   K RISTOPHER K NEUBUHLER


              CONSENT PRELIMINARY ORDER OF FORFEITURE
   Kristopher Kneubuhler having pleaded guilty to Count Two of the Indictment,
pursuant to which the United States sought forfeiture of certain property under 18
U.S.C. § 2253, and the Court having determined that the property described below

is subject to forfeiture pursuant thereto, that the Government has established the
requisite nexus between said property and the offense charged in Count Two of
the Indictment, and the Defendant having consented to this Consent Preliminary
Order of Forfeiture becoming final as to him, being made a part of his sentence
and being included in the judgment against him;
   IT IS HEREBY ORDERED that Kristopher Kneubuhler shall forfeit to the
United States the following property pursuant to 18 U.S.C. § 2253:
         a. one (1) Silver iPhone 13 Pro Max, Model MLKV3LL/A, with serial
            number Q53WWVJ7N1;

         b. one (1) Kingston Red/White Flash Drive GL2021;

         c. one (1) Republic of Gamers Laptop, Model GU603Z, with serial
            number N4NRKD02156616E;

         d. one (1) iPad Pro 5th Gen, Model MHNH3LL/A, with serial number
            HYGH3WHXY9;

         e. one (1) Desktop Tower with 3 Internal HDs, with serial number
            MCBQ300LKANNS001193001591;
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         f. one (1) Cooler Master Black Desktop Tower, with serial number
            RC430KWN11104700704; and

         g. one (1) cracked Pink iPhone.

   IT IS HEREBY ORDERED that upon entry of this order, the United States
Attorney General, or his designee, is authorized to seize the property in

accordance with Fed. R. Crim. P. 32.2(b)(3).
   The United States shall publish notice of this Order and its intent to dispose of
the property in accordance with Fed. R. Crim. P. 32.2(b)(6) and in such a manner

as described in Supplemental Rule G(4)(a)(iii) and (iv) of the Federal Rules of Civil
Procedure. The United States shall send written notice, in accordance with
Supplemental Rule G(4)(b)(iii)-(v), to any person who reasonably appears to be a

potential claimant with standing to contest the forfeiture of the above-listed
property in the ancillary proceeding.
   Pursuant to 21 U.S.C. § 853(n)(2), as incorporated by 18 U.S.C. § 2253, any
person, other than the named Defendant, asserting a legal interest in the property
may within thirty days of the final publication of the notice or their receipt of the
notice, whichever is earlier, petition the Court for a hearing without a jury to

adjudicate the validity of their alleged interest in the property and for an
amendment to the order of forfeiture. Any petition filed by a third party asserting
an interest in the property shall be signed by the petitioner under penalty of
perjury and shall set forth the nature and extent of the petitioner’s right, title, or
interest in the property, the time and circumstance of the petitioner’s acquisition
of the right, title, or interest, and any additional facts supporting the petitioner’s
claim and the relief sought.
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   After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(1)(A)
and before a hearing on the petition, discovery may be conducted in accordance
with the Federal Rules of Civil Procedure upon a showing that such discovery is
necessary or desirable to resolve factual issues.
   The United States shall have clear title to the property following the Court's
disposition of all third-party interests or, if none, following the expiration of the
period provided in 21 U.S.C. § 853(n)(2) for the filing of the third-party petitions.
The Court shall retain jurisdiction to enforce this order and to amend it as
necessary, pursuant to Fed. R. Crim. P. 32.2(e).
   IT IS FURTHER ORDERED that, pursuant to Fed. R. Crim. P. 32.2(b)(4), this
Preliminary Order of Forfeiture is hereby final as to the Defendant but remains
preliminary as to third parties until the ancillary proceeding is concluded under
Rule 32.2(c).
   SO ORDERED this 26th day of October, 2023.



                                       MARK H. COHEN
                                       UNITED STATES DISTRICT JUDGE

Presented by:
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